Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 1 of 7




                                                      EXHIBIT 17
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 2 of 7
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 3 of 7
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 4 of 7
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 5 of 7
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 6 of 7
Case 5:23-cv-00913-J Document 14-17 Filed 12/29/23 Page 7 of 7
